                 United States Court of Appeals
                              FIFTH CIRCUIT
                           OFFICE OF THE CLERK
LYLE W. CAYCE                                             TEL. 504-310-7700
CLERK                                                  600 S. MAESTRI PLACE,
                                                               Suite 115
                                                      NEW ORLEANS, LA 70130

                          August 07, 2024


Mr. Michael Thomas Gray
U.S. Department of Justice
Environment & Natural Resources Division
P.O. Box 7415
Washington, DC 20044-7415

      No. 23-50632   USA v. Abbott
                     USDC No. 1:23-CV-853


Dear Counsel:
This letter will serve to confirm our telephone conversation this
date advising that the court has requested a response to the
Appellants’ August 6, 2024 Letter, be filed in this office on or
before August 8, 2024, by 5:00 PM.


                               Sincerely,
                               LYLE W. CAYCE, Clerk

                               By: _________________________
                               Casey A. Sullivan, Deputy Clerk
                               504-310-7642
cc:
      Ms. Munera Al-Fuhaid
      Mr. Andrew Marshall Bernie
      Mr. Monroe David Bryant Jr.
      Mr. William Francis Cole
      Mr. Matt A. Crapo
      Mr. David Michael Hurst Jr.
      Mr. Andrew D. Knudsen
      Mr. Brian H. Lynk
      Ms. Michelle Melton
      Mr. Aaron Lloyd Nielson
      Mr. William Jeffrey Olson
      Ms. Lanora Christine Pettit
      Mr. Anthony J. Powell
      Mr. Ilya Somin
      Mr. Johnathan Stone
Mr. Landon Wade
Mr. Ryan Daniel Walters
Mr. Coy Allen Westbrook
